  Case 2:21-mc-00011-JDL Document 1 Filed 01/15/21 Page 1 of 2          PageID #: 1




                            United States District Court
                                  District of Maine
IN RE:                     )
                           )
INTERIM PROCEDURES FOR THE )
FILING, SERVICE, AND       )                  GENERAL ORDER 2021-1
MANAGEMENT OF HIGHLY       )
SENSITIVE DOCUMENTS        )

                                 GENERAL ORDER

       In response to recent disclosures of widespread breaches of both private sector
and government computer systems, the Judicial Conference of the United States has
requested each Judicial District to consider adopting, on an expedited basis,
additional security procedures to protect “highly sensitive documents” (HSDs) filed
with the nation’s Federal Courts. The Judicial Conference has not adopted a specific
definition of what constitutes an HSD, but has indicated that it includes “Title III
applications (i.e., electronic surveillance or wiretap applications), [and] initial
applications for search warrants.” Administrative Office of the United States Courts,
Highly Sensitive Document Procedures: Background FAQs (last updated Jan. 13,
2021), http://jnet.ao.dcn/court-services/highly-sensitive-document-
procedures/background-faqs. It has also cautioned Courts “not to be overinclusive in
determining what is an HSD.” Id.
       Based on the request of the Judicial Conference and pursuant to Fed. R. Crim.
P. 49(b)(3)(A), good cause exists to require the filing of certain highly sensitive
documents outside of the Court’s electronic filing system. Because the Court is acting
on an expedited basis without having received information fully explaining the
nature and extent of the data breaches, this General Order is adopted on an interim
basis.
       THEREFORE, IT IS HEREBY ORDERED that, effective as of the date of
this Order and until such time as the Court orders otherwise, the handling, filing,
service, and management of documents that qualify as HSDs shall be subject to the
procedures and requirements set forth below.
      1. Documents Subject to this Order
      The following types of documents are deemed HSDs: (i) applications for
      search warrants and tracking warrants, supporting affidavits, and
      resulting warrants; (ii) applications for wire, oral, or electronic



                                          1
 Case 2:21-mc-00011-JDL Document 1 Filed 01/15/21 Page 2 of 2           PageID #: 2




      communication interceptions, supporting affidavits, and resulting
      orders; and (iii) applications for pen/trap devices and resulting orders.
      2. Providing HSDs to Clerk or Judicial Officers

      The Government may submit an HSD listed in paragraph 1(i) to the Clerk by
      email in cases in which the Government has determined that a prompt decision
      on the warrant application is necessary, anticipates that the warrant will be
      executed within 72 hours of its issuance, and has concluded that the HSD does
      not contain information that, if revealed, could create a high risk of imminent
      threat to an identifiable individual, cause harm to our country’s national
      security, or expose trade secrets. Otherwise, if an HSD or proposed HSD is
      provided to the Clerk, it must be provided in paper copy by hand-delivery or
      mail. The Clerk’s Office will file and maintain the HSD in a secure paper filing
      system.
      3. Termination of HSD Designation
         a. For search warrants, the designation of “highly sensitive” will expire
            when a search warrant has been executed and returned to the Court
            unless the Government moves for, and the Court grants, an extension of
            the HSD classification. Search warrants that are no longer deemed as
            highly sensitive will be docketed and uploaded to CM/ECF.

         b. All other documents that are HSDs shall be stored in paper and not
            entered in CM/ECF until the presiding Judge or, in the absence of the
            presiding Judge, the Chief Judge has ordered that the document shall
            no longer be treated as an HSD.

       4. Effectiveness

       This General Order shall take effect immediately and shall remain in effect
until superseded by another General Order or terminated by Order of the Chief
Judge.
      SO ORDERED.


      Dated: January 15, 2021


                                                     /s/ Jon D. Levy
                                                CHIEF U.S. DISTRICT JUDGE



                                          2
